
218 S.E.2d 467 (1975)
288 N.C. 393
RAY D. LOWDER, INC.
v.
NORTH CAROLINA STATE HIGHWAY COMMISSION.
Supreme Court of North Carolina.
October 7, 1975.
Berry, Bledsoe &amp; Hogewood, for plaintiff.
Rufus L. Edmisten, Atty. Gen., Eugene A. Smith, Special Deputy Atty. Gen., Robert W. Kaylor, Associate Atty., for the State.
Petition by plaintiff for writ of certiorari to review the decision of the Court of Appeals, 26 N.C.App. 622, 217 S.E.2d 682. Denied.
